         Case:24-12624-KHT Doc#:339 Filed:03/27/25                              Entered:03/27/25 13:11:23 Page1 of 22
Fill in this information to identify the case:

            DNC and TCPA List Sanitizer
Debtor Name __________________________________________________________________


United States Bankruptcy Court for the: _______ District
                                        __________       of ________
                                                     District of __________

                                                                                                                     Check if this is an
Case number: 24-12624-KHT
             _________________________
                                                                                                                        amended filing




Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11                                                                             12/17

Month:                Februrary 2025
                     ___________                                                               Date report filed:     3/18/2025
                                                                                                                      ___________
                                                                                                                      MM / DD / YYYY

                   TCPA Risk Mitigation
Line of business: ________________________                                                     NAISC code:            518210
                                                                                                                      ___________

In accordance with title 28, section 1746, of the United States Code, I declare under penalty of perjury
that I have examined the following small business monthly operating report and the accompanying
attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party:                          Michael O'Hare
                                            ____________________________________________

Original signature of responsible party     ____________________________________________

Printed name of responsible party           Michael O'Hare
                                            ____________________________________________


             1. Questionnaire
    Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
                                                                                                                           Yes     No       N/A
          If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.

    1.   Did the business operate during the entire reporting period?                                                      
                                                                                                                           ✔               
    2.   Do you plan to continue to operate the business next month?                                                       
                                                                                                                           ✔               
    3.   Have you paid all of your bills on time?                                                                          
                                                                                                                           ✔               
    4.   Did you pay your employees on time?                                                                                              
                                                                                                                                            ✔

    5.   Have you deposited all the receipts for your business into debtor in possession (DIP) accounts?                   
                                                                                                                           ✔               
    6.   Have you timely filed your tax returns and paid all of your taxes?                                                               
                                                                                                                                            ✔

    7.   Have you timely filed all other required government filings?                                                      
                                                                                                                           ✔               
    8.   Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator?                   
                                                                                                                           ✔               
    9.   Have you timely paid all of your insurance premiums?                                                                             
                                                                                                                                            ✔

          If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.
    10. Do you have any bank accounts open other than the DIP accounts?                                                           
                                                                                                                                   ✔        
    11. Have you sold any assets other than inventory?                                                                            
                                                                                                                                   ✔        
    12. Have you sold or transferred any assets or provided services to anyone related to the DIP in any way?                     
                                                                                                                                   ✔        
    13. Did any insurance company cancel your policy?                                                                                     
                                                                                                                                            ✔

    14. Did you have any unusual or significant unanticipated expenses?                                                           
                                                                                                                                   ✔        
    15. Have you borrowed money from anyone or has anyone made any payments on your behalf?                                
                                                                                                                           ✔               
    16. Has anyone made an investment in your business?                                                                           
                                                                                                                                   ✔        
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Debtor Name   DNC    and TCPA List Sanitizer
              _______________________________________________________                             24-12624-KHT
                                                                                      Case number_____________________________________




    17. Have you paid any bills you owed before you filed bankruptcy?                                                            
                                                                                                                                  ✔      
    18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy?                              
                                                                                                                                  ✔      


              2. Summary of Cash Activity for All Accounts

    19. Total opening balance of all accounts
                                                                                                                               $503,377.31
                                                                                                                            $ __________
        This amount must equal what you reported as the cash on hand at the end of the month in the previous
        month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

    20. Total cash receipts
        Attach a listing of all cash received for the month and label it Exhibit C. Include all
        cash received even if you have not deposited it at the bank, collections on
        receivables, credit card deposits, cash received from other parties, or loans, gifts, or
        payments made by other parties on your behalf. Do not attach bank statements in
        lieu of Exhibit C.
                                                                                                         $130,195.3
                                                                                                      $ __________
        Report the total from Exhibit C here.
    21. Total cash disbursements
        Attach a listing of all payments you made in the month and label it Exhibit D. List the
        date paid, payee, purpose, and amount. Include all cash payments, debit card
        transactions, checks issued even if they have not cleared the bank, outstanding
        checks issued before the bankruptcy was filed that were allowed to clear this month,
        and payments made by other parties on your behalf. Do not attach bank statements
        in lieu of Exhibit D.
                                                                                                      - $ __________
                                                                                                           $86,706.13
        Report the total from Exhibit D here.

    22. Net cash flow
        Subtract line 21 from line 20 and report the result here.                                                        + $ __________
                                                                                                                              $43,489.18

        This amount may be different from what you may have calculated as net profit.

    23. Cash on hand at the end of the month
        Add line 22 + line 19. Report the result here.
                                                                                                                              $546,866.49
        Report this figure as the cash on hand at the beginning of the month on your next operating report.              = $ __________
        This amount may not match your bank account balance because you may have outstanding checks that
        have not cleared the bank or deposits in transit.



              3. Unpaid Bills
        Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but
        have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
        purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

    24. Total payables                                                                                                                  0
                                                                                                                            $ ____________

               (Exhibit E)




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Debtor Name   DNC    and TCPA List Sanitizer
              _______________________________________________________                                24-12624-KHT
                                                                                         Case number_____________________________________




              4. Money Owed to You
        Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
        have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
        Identify who owes you money, how much is owed, and when payment is due. Report the total from
        Exhibit F here.
    25. Total receivables                                                                                                                   0
                                                                                                                               $ ____________

               (Exhibit F)



              5. Employees
                                                                                                                                           0
                                                                                                                                 ____________
    26. What was the number of employees when the case was filed?
                                                                                                                                           0
                                                                                                                                 ____________
    27. What is the number of employees as of the date of this monthly report?



              6. Professional Fees
                                                                                                                                   $66,519.25
                                                                                                                               $ ____________
    28. How much have you paid this month in professional fees related to this bankruptcy case?

    29. How much have you paid in professional fees related to this bankruptcy case since the case was filed?                      104,542.7
                                                                                                                               $ ____________

    30. How much have you paid this month in other professional fees?                                                                       0
                                                                                                                               $ ____________

    31. How much have you paid in total other professional fees since filing the case?                                                      0
                                                                                                                               $ ____________




              7. Projections

        Compare your actual cash receipts and disbursements to what you projected in the previous month.
        Projected figures in the first month should match those provided at the initial debtor interview, if any.

                                        Column A                     Column B                      Column C
                                        Projected                –   Actual                    =   Difference

                                        Copy lines 35-37 from        Copy lines 20-22 of           Subtract Column B
                                        the previous month’s         this report.                  from Column A.
                                        report.
                                             100000
                                        $ ____________           –      $130,195.3
                                                                     $ ____________
                                                                                               =          30000
                                                                                                   $ ____________
    32. Cash receipts
                                               60000                    86,706.13              =       26705.13
    33. Cash disbursements              $ ____________           –   $ ____________                $ ____________

                                               40000             –      $43,489.18             =        3294.87
    34. Net cash flow                   $ ____________               $ ____________                $ ____________


    35. Total projected cash receipts for the next month:                                                                             100000
                                                                                                                                $ ____________

    36. Total projected cash disbursements for the next month:                                                                - $ ____________
                                                                                                                                       60000

    37. Total projected net cash flow for the next month:
                                                                                                                              = $ ____________
                                                                                                                                        40000




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Debtor Name   DNC    and TCPA List Sanitizer
              _______________________________________________________                            24-12624-KHT
                                                                                     Case number_____________________________________




              8. Additional Information
    If available, check the box to the left and attach copies of the following documents.

    
    ✔ 38. Bank statements for each open account (redact all but the last 4 digits of account numbers).

     39. Bank reconciliation reports for each account.

    
    ✔ 40. Financial reports such as an income statement (profit & loss) and/or balance sheet.

     41. Budget, projection, or forecast reports.

     42. Project, job costing, or work-in-progress reports.




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 EXHIBIT C
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Created date (UTC) Amount Description                              Fee           Refunded date (UTC)
    2/28/2025 22:38     $99 TCPA Litigator DNC List - Order 465007        3.17
    2/28/2025 21:01    $549 TCPA Litigator DNC List - Order 465005       16.22
    2/28/2025 20:02    $149 TCPA Litigator DNC List - Order 465001        4.62
    2/28/2025 19:43    $225 TCPA Litigator DNC List - Order 465000        6.83
    2/28/2025 19:43    $299 TCPA Litigator DNC List - Order 464999        8.97
    2/28/2025 19:13    $600 TCPA Litigator DNC List - Order 464997        17.7
    2/28/2025 18:00    $199 TCPA Litigator DNC List - Order 464993        9.06
    2/28/2025 15:46    $199 TCPA Litigator DNC List - Order 464990        6.07
    2/28/2025 15:37    $995 TCPA Litigator DNC List - Order 464989       29.16
    2/28/2025 15:02    $249 TCPA Litigator DNC List - Order 464985        7.52
    2/28/2025 14:38    $199 TCPA Litigator DNC List - Order 464984        6.07
    2/28/2025 10:15    $199 TCPA Litigator DNC List - Order 464969        6.07
     2/28/2025 0:35    $199 TCPA Litigator DNC List - Order 464955        6.07
    2/27/2025 20:08    $299 TCPA Litigator DNC List - Order 464954        8.97
    2/27/2025 20:01    $299 TCPA Litigator DNC List - Order 464953        8.97
    2/27/2025 17:47    $299 TCPA Litigator DNC List - Order 464951        8.97
    2/27/2025 16:49    $199 TCPA Litigator DNC List - Order 464941        9.06
    2/27/2025 15:43    $300 Invoice 64B84044-0028                         13.5
    2/27/2025 15:37    $199 TCPA Litigator DNC List - Order 464914        9.06
    2/27/2025 15:11  $1,000 TCPA Litigator DNC List - Order 464913        44.3
    2/27/2025 15:09    $199 TCPA Litigator DNC List - Order 464912        6.07
    2/27/2025 14:59    $199 TCPA Litigator DNC List - Order 464911        6.07
     2/27/2025 0:12    $299 TCPA Litigator DNC List - Order 464847        8.97
    2/26/2025 22:10    $225 TCPA Litigator DNC List - Order 464842        6.83
    2/26/2025 22:05    $199 TCPA Litigator DNC List - Order 464841        6.07
    2/26/2025 17:46    $549 TCPA Litigator DNC List - Order 464838       24.46
    2/26/2025 15:21    $225 TCPA Litigator DNC List - Order 464836        6.83
    2/26/2025 12:59  $4,500 TCPA Litigator DNC List - Order 464793       130.8
    2/26/2025 10:10    $149 TCPA Litigator DNC List - Order 464790        4.62
     2/26/2025 9:06    $750 TCPA Litigator DNC List - Order 464788       22.05
     2/26/2025 0:19    $199 TCPA Litigator DNC List - Order 464784        6.07
    2/25/2025 19:58    $199 TCPA Litigator DNC List - Order 464779        6.07
    2/25/2025 18:05    $199 TCPA Litigator DNC List - Order 464767        6.07
    2/25/2025 17:09  $2,100 TCPA Litigator DNC List - Order 464766        61.2
    2/25/2025 15:37    $299 TCPA Litigator DNC List - Order 464764        8.97
    2/25/2025 15:32    $199 TCPA Litigator DNC List - Order 464763        6.07
    2/25/2025 14:40  $1,000 TCPA Litigator DNC List - Order 464761        29.3
    2/24/2025 23:52     $99 TCPA Litigator DNC List - Order 464576        3.17
    2/24/2025 18:00    $299 TCPA Litigator DNC List - Order 464525        8.97
    2/24/2025 17:56    $199 TCPA Litigator DNC List - Order 464654        6.07
    2/24/2025 17:41    $299 TCPA Litigator DNC List - Order 464606        8.97
    2/24/2025 17:33  $2,750 TCPA Litigator DNC List - Order 464605       80.05
    2/24/2025 17:20    $375 TCPA Litigator DNC List - Order 464604       11.18
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 2/24/2025 15:20     $199 TCPA Litigator DNC List - Order 464600     6.07
 2/24/2025 15:10     $299 TCPA Litigator DNC List - Order 464599     8.97
 2/24/2025 15:01     $299 TCPA Litigator DNC List - Order 464598    13.46
 2/24/2025 13:23     $299 TCPA Litigator DNC List - Order 464597    13.46
  2/24/2025 0:03     $199 TCPA Litigator DNC List - Order 464577     6.07
 2/23/2025 22:54     $299 TCPA Litigator DNC List - Order 464493     8.97
 2/23/2025 20:04     $799 TCPA Litigator DNC List - Order 464546    23.47
 2/23/2025 17:47      $99 TCPA Litigator DNC List - Order 464544     3.17
 2/23/2025 17:05     $199 TCPA Litigator DNC List - Order 464542     6.07
 2/23/2025 16:42     $499 TCPA Litigator DNC List - Order 464541    14.77
 2/23/2025 16:07     $299 TCPA Litigator DNC List - Order 464540     8.97
  2/23/2025 0:16   $3,000 TCPA Litigator DNC List - Order 464534     87.3
 2/22/2025 20:05      $99 TCPA Litigator DNC List - Order 464527     3.17
  2/22/2025 5:29     $199 TCPA Litigator DNC List - Order 464422     6.07
 2/21/2025 21:33     $199 TCPA Litigator DNC List - Order 464489     6.07
 2/21/2025 20:44     $299 TCPA Litigator DNC List - Order 464486     8.97
 2/21/2025 18:03     $149 TCPA Litigator DNC List - Order 464482     4.62
 2/21/2025 17:46     $299 TCPA Litigator DNC List - Order 464481     8.97
 2/21/2025 17:36     $199 TCPA Litigator DNC List - Order 464131     6.07
 2/21/2025 17:29     $199 TCPA Litigator DNC List - Order 464422     6.07
 2/21/2025 16:20     $199 TCPA Litigator DNC List - Order 464420     6.07
 2/21/2025 16:16     $299 TCPA Litigator DNC List - Order 464419    13.46
 2/21/2025 14:20     $199 TCPA Litigator DNC List - Order 464368     6.07
  2/21/2025 5:06     $199 TCPA Litigator DNC List - Order 464353     6.07
  2/21/2025 0:11     $199 TCPA Litigator DNC List - Order 464351     6.07
 2/20/2025 19:19     $249 TCPA Litigator DNC List - Order 464347     7.52
 2/20/2025 18:14     $299 TCPA Litigator DNC List - Order 464346     8.97
 2/20/2025 17:41     $499 TCPA Litigator DNC List - Order 464345    14.77
 2/20/2025 15:12   $1,250 TCPA Litigator DNC List - Order 464340    36.55
 2/20/2025 15:03     $299 TCPA Litigator DNC List - Order 464339     8.97
 2/20/2025 14:29     $199 TCPA Litigator DNC List - Order 461971     9.06
  2/20/2025 5:52     $499 TCPA Litigator DNC List - Order 464323    14.77
  2/20/2025 5:31     $875 TCPA Litigator DNC List - Order 464322    25.68
 2/19/2025 23:19     $199 TCPA Litigator DNC List - Order 464314     6.07
 2/19/2025 20:33     $199 TCPA Litigator DNC List - Order 464305     9.06
 2/19/2025 20:27     $225 TCPA Litigator DNC List - Order 464304     6.83
 2/19/2025 17:58     $199 TCPA Litigator DNC List - Order 464302     6.07
 2/19/2025 15:45      $99 TCPA Litigator DNC List - Order 464300     3.17
 2/19/2025 12:05     $299 TCPA Litigator DNC List - Order 464298     8.97
 2/18/2025 19:11   $4,500 TCPA Litigator DNC List - Order 464283    130.8
 2/18/2025 19:09     $299 TCPA Litigator DNC List - Order 464282     8.97
 2/18/2025 17:00     $299 TCPA Litigator DNC List - Order 464260     8.97
 2/18/2025 16:57     $199 TCPA Litigator DNC List - Order 464259     6.07
  2/18/2025 8:56     $249 TCPA service February 2025                 7.52
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  2/18/2025 0:00     $299 TCPA Litigator DNC List - Order 464187     8.97
 2/17/2025 23:50     $199 TCPA Litigator DNC List - Order 464186     6.07
 2/17/2025 23:03     $299 TCPA Litigator DNC List - Order 464154     8.97
 2/17/2025 22:41     $499 TCPA Litigator DNC List - Order 464153    14.77
 2/17/2025 19:32      $99 TCPA Litigator DNC List - Order 464145     3.17
 2/17/2025 18:48     $199 TCPA Litigator DNC List - Order 464143     6.07
 2/17/2025 16:46     $100 TCPA Litigator DNC List - Order 464129      3.2
 2/17/2025 15:51     $375 TCPA Litigator DNC List - Order 464126    11.18
 2/17/2025 14:54   $1,730 TCPA Litigator DNC List - Order 463387    50.47
 2/17/2025 14:27     $299 TCPA Litigator DNC List - Order 464073     8.97
 2/16/2025 22:43     $199 TCPA Litigator DNC List - Order 464015     6.07
 2/16/2025 19:16     $299 TCPA Litigator DNC List - Order 463997     8.97
 2/16/2025 19:16     $199 TCPA Litigator DNC List - Order 463996     6.07
 2/16/2025 16:59     $299 TCPA Litigator DNC List - Order 463403     8.97
 2/16/2025 12:38     $199 TCPA Litigator DNC List - Order 463397     6.07
 2/15/2025 21:54      $75 TCPA Litigator DNC List - Order 463386     2.48
 2/15/2025 19:23      $99 TCPA Litigator DNC List - Order 463385     3.17
 2/15/2025 19:08     $299 TCPA Litigator DNC List - Order 463384     8.97
 2/15/2025 15:06     $199 TCPA Litigator DNC List - Order 463381     6.07
 2/15/2025 10:36     $199 TCPA Litigator DNC List - Order 463377     6.07
  2/15/2025 5:13     $299 TCPA Litigator DNC List - Order 463374     8.97
  2/15/2025 0:20     $199 TCPA Litigator DNC List - Order 463372     6.07
  2/15/2025 0:03   $1,000 TCPA Litigator DNC List - Order 463371     29.3
 2/14/2025 23:01      $99 TCPA Litigator DNC List - Order 463370     3.17
 2/14/2025 18:27     $199 TCPA Litigator DNC List - Order 463343     6.07
 2/14/2025 15:52   $1,799 TCPA Litigator DNC List - Order 463299    52.47
 2/14/2025 14:02     $900 TCPA Litigator DNC List - Order 463297     39.9
 2/14/2025 13:36   $1,000 TCPA Litigator DNC List - Order 463296     29.3
 2/13/2025 22:45     $299 TCPA Litigator DNC List - Order 463264     8.97
 2/13/2025 20:52     $299 TCPA Litigator DNC List - Order 463261     8.97
 2/13/2025 15:48     $250 TCPA Litigator DNC List - Order 463246     7.55
 2/13/2025 14:09     $299 TCPA Litigator DNC List - Order 463230    13.46
  2/13/2025 4:53     $249 TCPA Litigator DNC List - Order 463219     7.52
 2/12/2025 22:40     $199 TCPA Litigator DNC List - Order 463105     6.07
 2/12/2025 21:42   $2,870 Invoice 5A27F778-0001                     83.53
 2/12/2025 21:09     $750 TCPA Litigator DNC List - Order 463086    22.05
 2/12/2025 20:42      $99 TCPA Litigator DNC List - Order 463079     3.17
 2/12/2025 20:05     $199 TCPA Litigator DNC List - Order 463071     6.07
 2/12/2025 17:33   $1,799 TCPA Litigator DNC List - Order 463058    79.46
 2/12/2025 16:01     $799 TCPA Litigator DNC List - Order 463049    23.47
 2/12/2025 14:51     $199 TCPA Litigator DNC List - Order 463021     6.07
 2/12/2025 13:54   $1,750 TCPA Litigator DNC List - Order 463018     77.3
 2/12/2025 13:28     $875 TCPA Litigator DNC List - Order 463017    25.68
  2/12/2025 0:09   $3,000 TCPA Litigator DNC List - Order 462950     87.3
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 2/11/2025 21:34      $99 TCPA Litigator DNC List - Order 462939     3.17
 2/11/2025 21:01     $100 TCPA Litigator DNC List - Order 462927      3.2
 2/11/2025 18:35     $149 TCPA Litigator DNC List - Order 462920     4.62
 2/11/2025 15:11     $249 TCPA Litigator DNC List - Order 462885     7.52
 2/11/2025 14:08     $299 TCPA Litigator DNC List - Order 462883     8.97
 2/11/2025 13:47     $299 TCPA Litigator DNC List - Order 462882     8.97
 2/11/2025 12:25   $2,500 TCPA Litigator DNC List - Order 462881     72.8
 2/10/2025 23:18     $299 TCPA Litigator DNC List - Order 462770    13.46
 2/10/2025 23:10     $299 TCPA Litigator DNC List - Order 462769     8.97
 2/10/2025 21:55     $199 TCPA Litigator DNC List - Order 462767     6.07
 2/10/2025 20:12     $299 TCPA Litigator DNC List - Order 462642     8.97
 2/10/2025 19:58     $199 TCPA Litigator DNC List - Order 462641     6.07
 2/10/2025 19:21     $199 TCPA Litigator DNC List - Order 462640     6.07
 2/10/2025 18:36     $199 TCPA Litigator DNC List - Order 462256     9.06
 2/10/2025 18:31     $799 TCPA Litigator DNC List - Order 462637    23.47
 2/10/2025 15:39     $300 TCPA Litigator DNC List - Order 462542     13.5
  2/10/2025 2:09     $199 TCPA Litigator DNC List - Order 462573     6.07
  2/9/2025 21:38     $299 TCPA Litigator DNC List - Order 462570     8.97
  2/9/2025 19:30     $199 TCPA Litigator DNC List - Order 462560     6.07
  2/9/2025 16:58     $299 TCPA Litigator DNC List - Order 462543     8.97
  2/9/2025 14:11     $299 TCPA Litigator DNC List - Order 462530     8.97
  2/9/2025 13:46     $299 TCPA Litigator DNC List - Order 462164    13.46
   2/9/2025 0:10   $2,249 TCPA Litigator DNC List - Order 462522    65.52
  2/8/2025 22:57     $199 TCPA Litigator DNC List - Order 462521     6.07
  2/8/2025 17:12     $199 TCPA Litigator DNC List - Order 462258     6.07
  2/8/2025 17:00     $149 TCPA Litigator DNC List - Order 462257     4.62
  2/8/2025 16:22     $149 TCPA Litigator DNC List - Order 462255     4.62
  2/8/2025 12:58      $99 TCPA Litigator DNC List - Order 462248     3.17
   2/8/2025 0:12   $2,500 TCPA Litigator DNC List - Order 462166     72.8
  2/7/2025 22:34   $1,701 TCPA service January 2025                 49.63
  2/7/2025 21:18     $199 TCPA Litigator DNC List - Order 462144     6.07
  2/7/2025 20:58     $299 TCPA Litigator DNC List - Order 462143     8.97
  2/7/2025 16:11     $199 TCPA Litigator DNC List - Order 462070     9.06
  2/7/2025 15:00     $149 TCPA Litigator DNC List - Order 462084     4.62
  2/7/2025 14:35     $100 TCPA Litigator DNC List - Order 462083      3.2
  2/7/2025 14:33     $299 TCPA Litigator DNC List - Order 462073     8.97
   2/7/2025 6:49     $149 TCPA Litigator DNC List - Order 462044     6.86
   2/7/2025 1:07     $299 TCPA Litigator DNC List - Order 462043     8.97
   2/7/2025 0:09     $299 TCPA Litigator DNC List - Order 461965     8.97
  2/6/2025 23:28     $199 TCPA Litigator DNC List - Order 462016     6.07
  2/6/2025 23:12     $199 TCPA Litigator DNC List - Order 462015     6.07
  2/6/2025 22:21     $199 TCPA Litigator DNC List - Order 462013     6.07
  2/6/2025 22:10      $99 TCPA Litigator DNC List - Order 462012     3.17
  2/6/2025 19:26     $374 TCPA Litigator DNC List - Order 427953    16.77
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   2/6/2025 19:16     $199 TCPA Litigator DNC List - Order 461991      6.07
   2/6/2025 18:53     $249 TCPA Litigator DNC List - Order 461988     11.26
   2/6/2025 18:36     $199 TCPA Litigator DNC List - Order 461987      6.07
   2/6/2025 18:02     $500 TCPA Litigator DNC List - Order 461976      14.8
   2/6/2025 15:13     $199 TCPA Litigator DNC List - Order 461962      6.07
   2/6/2025 13:45     $299 TCPA Litigator DNC List - Order 461970      8.97
   2/6/2025 13:07       $1 TCPA Litigator DNC List - Order 461966      0.34
   2/6/2025 12:59   $1,799 TCPA Litigator DNC List - Order 461969     52.47
    2/6/2025 3:31   $2,100 TCPA Litigator DNC List - Order 461931      61.2
    2/6/2025 0:33     $299 TCPA Litigator DNC List - Order 461928      8.97
    2/6/2025 0:01     $399 TCPA Litigator DNC List - Order 461927     17.86
   2/5/2025 22:57   $4,191 TCPA Litigator DNC List - Order 461918    121.84
   2/5/2025 21:02     $249 TCPA Litigator DNC List - Order 461873      7.52
   2/5/2025 19:12     $100 TCPA Litigator DNC List - Order 461866       3.2
   2/5/2025 16:32     $225 TCPA Litigator DNC List - Order 461693      6.83
   2/5/2025 16:27     $299 TCPA Litigator DNC List - Order 461692      8.97
   2/5/2025 14:52     $499 TCPA Litigator DNC List - Order 461668     14.77
   2/5/2025 14:07   $2,500 TCPA Litigator DNC List - Order 461611      72.8
    2/5/2025 3:24     $199 TCPA Litigator DNC List - Order 461633      6.07
   2/4/2025 23:17     $299 TCPA Litigator DNC List - Order 461604      8.97
   2/4/2025 21:17     $299 TCPA Litigator DNC List - Order 461603      8.97
   2/4/2025 18:26     $149 TCPA Litigator DNC List - Order 461573      4.62
   2/4/2025 18:01     $299 TCPA Litigator DNC List - Order 461169     13.46
   2/4/2025 15:09   $2,750 TCPA Litigator DNC List - Order 461516     80.05
   2/4/2025 15:05   $1,000 TCPA Litigator DNC List - Order 461515      29.3
   2/4/2025 13:52      $80 TCPA Litigator DNC List - Order 461514      2.62
   2/3/2025 21:56     $199 TCPA Litigator DNC List - Order 461472      6.07
   2/3/2025 20:55     $600 TCPA Litigator DNC List - Order 461456      26.7
   2/3/2025 19:23     $299 TCPA Litigator DNC List - Order 461415      8.97
   2/3/2025 18:43     $100 TCPA Litigator DNC List - Order 461414       3.2
   2/3/2025 17:11     $199 TCPA Litigator DNC List - Order 461389      6.07
   2/3/2025 17:02     $499 TCPA Litigator DNC List - Order 461388     22.26
   2/3/2025 16:49     $250 TCPA Litigator DNC List - Order 461387      7.55
   2/3/2025 16:11     $199 TCPA Litigator DNC List - Order 461386      6.07
   2/3/2025 15:14     $549 TCPA Litigator DNC List - Order 461359     16.22
   2/3/2025 15:00     $199 TCPA Litigator DNC List - Order 461065      9.06
   2/2/2025 22:25     $299 TCPA Litigator DNC List - Order 461320      8.97
   2/2/2025 21:36      $99 TCPA Litigator DNC List - Order 461295      3.17
   2/2/2025 20:34     $549 TCPA Litigator DNC List - Order 461293     16.22
   2/2/2025 20:26     $199 TCPA Litigator DNC List - Order 461292      9.06
   2/2/2025 19:30     $199 TCPA Litigator DNC List - Order 461285      6.07
   2/2/2025 19:06   $2,499 TCPA Litigator DNC List - Order 461284     72.77
   2/2/2025 17:54   $3,250 TCPA service January 2025                  94.55
   2/2/2025 15:24     $199 TCPA Litigator DNC List - Order 461020      6.07
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   2/1/2025 21:49       $0 TCPA Litigator DNC List - Order 460968     23.47
   2/1/2025 12:08   $2,500 TCPA Litigator DNC List - Order 460960      72.8
   2/1/2025 12:06     $750 TCPA Litigator DNC List - Order 460959     22.05
  2/17/2025 16:44     $299 TCPA Litigator DNC List - Order 464127      8.97
    2/5/2025 1:16      $99 TCPA Litigator DNC List - Order 20440       3.17
    2/2/2025 9:50     $799 TCPA Litigator DNC List - Order 460968     23.47
 Case:24-12624-KHT Doc#:339 Filed:03/27/25                Entered:03/27/25 13:11:23 Page12 of 22


Date      Type                   Gross        Fee
 2/2/2025 Subscription Payment   $ 199.00     $ (7.44)
 2/3/2025 Subscription Payment   $ 199.00     $ (7.44)
 2/4/2025 General Payment        $ 500.00     $ (14.95)
 2/5/2025 Subscription Payment   $ 299.00     $ (10.93)
 2/5/2025 General Payment        $ 2,500.00   $ (74.75)
 2/6/2025 Subscription Payment   $ 299.00     $ (10.93)
 2/6/2025 Subscription Payment   $ 99.00      $ (3.95)
 2/6/2025 Subscription Payment   $ 199.00     $ (10.42)
 2/9/2025 Subscription Payment   $ 199.00     $ (7.44)
2/10/2025 Subscription Payment   $ 199.00     $ (7.44)
2/10/2025 Subscription Payment   $ 299.00     $ (10.93)
2/11/2025 General Payment        $ 1,000.00   $ (29.90)
2/16/2025 Subscription Payment   $ 299.00     $ (10.93)
2/20/2025 Subscription Payment   $ 299.00     $ (10.93)
2/21/2025 Website Payment        $ 225.00     $ (8.34)
2/22/2025 Subscription Payment   $ 199.00     $ (7.44)
2/24/2025 Website Payment        $ 799.00     $ (28.38)
2/27/2025 General Payment        $ 300.00     $ (8.97)
2/27/2025 Subscription Payment   $ 299.00     $ (10.93)
2/28/2025 Subscription Payment   $ 299.00     $ (10.93)
2/28/2025 Subscription Payment   $ 199.00     $ (7.44)
2/28/2025 Subscription Payment   $ 199.00     $ (7.44)
2/28/2025 Website Payment        $ 225.00     $ (8.34)
2/28/2025 Website Payment        $ 225.00     $ (8.34)
               Case:24-12624-KHT Doc#:339 Filed:03/27/25                                Entered:03/27/25 13:11:23
                                                                                                    Page 1 of 2   Page13 of 22

                 HAVE A QUESTION?                                                                          Processing Month:            02-25              5546
                 OPEN A DASHBOARD TICKET UNDER SUPPORT
                 OR CALL (800) 464-9777                                                                    Association Number:          061537
                                                                                                           Merchant Number:             xxxx30119760398
                                                                                                           Routing Number:              xxxxx6994
                                                                                                           Deposit Account Number:      xxx0627




                                                                                                           Amount Deducted:
                 DNC AND TCPA LIST SANITIZER
                                                                                                           $ 51.04
                 MICHAEL O'HARE
                 985 PICO PT
                 COLORADO SPRINGS CO 80905-7380


                                                                          Plan Summary
Plan       Number of       Amount of   Number of           Amount of                    Net          Average             Disc           Disc            Discount
Code          Sales           Sales      Credits             Credits                  Sales            Ticket             P/I             %                 Due
VS               00              .00         00                  .00                   .00               .00                         0.5000                    .00
VD               00              .00         00                  .00                   .00               .00                         0.5000                    .00
VB               00              .00         00                  .00                   .00               .00                         0.5000                    .00
MC               00              .00         00                  .00                   .00               .00                         0.5000                    .00
MD               00              .00         00                  .00                   .00               .00                         0.5000                    .00
MB               00              .00         00                  .00                   .00               .00                         0.5000                    .00
JC               00              .00         00                  .00                   .00               .00                         0.5000                    .00
AM               00              .00         00                  .00                   .00               .00                         0.5000                    .00
DS               00              .00         00                  .00                   .00               .00                         0.5000                    .00
DD               00              .00         00                  .00                   .00               .00                         0.5000                    .00
DZ               00              .00         00                  .00                   .00               .00                         0.5000                    .00
DJ               00              .00         00                  .00                   .00               .00                         0.5000                    .00
DB               00              .00         00                  .00                   .00               .00        0.35000          0.8500                    .00
**               00              .00         00                  .00                   .00               .00                                                   .00


                                                                              Fees
       Count            Amount     Rate %     Rate Per Item Description                                                                    Fees Paid           Total

AUTHORIZATION FEES:
     06                                             0.10000 Authorization Fee - V/MC/D                                                         .00              .60
                                                                                                                         Total Authorization Fees:              .60
CARD BRAND FEES:
     06                                             0.00500 DS Address Verification Service Fee                                                 .00             .03
     06                                             0.01900 DS Network Authorization Fee                                                        .00             .11
                                                                                                                             Total Card Brand Fees:             .14
OTHER FEES:
                                                    5.00000 Monthly Fee                                                                          .00        5.00
                                                   25.00000 Non-Receipt of PCI Compliance                                                        .00       25.00
                                                    5.00000 PCI Program                                                                          .00        5.00
         01                                        15.00000 Website Monitoring Fee                                                               .00       15.00
         06                                         0.05000 AVS Transaction Fee                                                                  .00         .30
                                                                                                                                   Total Other Fees:       50.30
                                                                                                                                   Total Fees Due:         51.04




                                                   Fees Due                                               51.04
                                                   Amount Deducted                                        51.04




                                                            PLAN CODES                                                                TRANSACTION CODES
VS -VISA                  MC -MASTERCARD                      DS -DISCOVER                JC -JCB                  T -ALL PLANS       D -DEPOSIT
VL -VISA LARGE TICKET     ML -MASTERCARD LARGE TICKET         DD - DISCOVER DEBIT         AM -AMERICAN EXPRESS     1 -PLAN ONE        C -CHARGEBACK
VD -VISA DEBIT            MD -MASTERCARD DEBIT                DZ -DISCOVER BUSINESS       DB -DEBIT                2 -PLAN TW O       A -ADJUSTMENT
VB -VISA BUSINESS         MB -MASTERCARD BUSINESS             DJ -DISCOVER JCB            EC -ELECTRONIC CHECK     3 -PLAN THREE      B -CHARGEBACK REVERSAL
V$ -VISA CASH ADVANCE     M$ -MASTERCARD CASH ADVANCE         D$ -DISCOVER CASH ADV       EB -EBT    PP -PAYPAL
Case:24-12624-KHT Doc#:339 Filed:03/27/25   Entered:03/27/25 13:11:23 Page14 of 22




  EXHIBIT D
 Case:24-12624-KHT Doc#:339 Filed:03/27/25                Entered:03/27/25 13:11:23 Page15 of 22


Date      Type                                    Gross
 2/2/2025 General Payment                         $ (3,023.50)
2/13/2025 Express Checkout Payment                $ (500.00)
2/14/2025 PreApproved Payment Bill User Payment   $ (29.00)
2/26/2025 Express Checkout Payment                $ (1,000.00)
                 Case:24-12624-KHT Doc#:339 Filed:03/27/25                                      Entered:03/27/25 13:11:23 Page16 of 22




                                                                                                       Managing Your Accounts
                                                                                                       PHONE:            (719) 487-3034
                                                                                                       ADDRESS:           13475 VOYAGER PKWY
                                                                                                                         COLORADO SPRINGS CO 80921
 0000905




                                    896 1 AV 0.540        *0000905         S3                          TOLL FREE:         877-677-2265
                                    DNC AND TCPA LIST SANITIZER
                                    CASE #24-12624-KHT                                                 TELEBANK:          877-317-2265
                                    DEBTOR IN POSSESSION
                                    405 CHERRY HILLS WAY
                                    COLORADO SPRINGS CO 80921-2667                                     ONLINE:            www.IntegrityBankAndTrust.com
 0278IBTMC




                            AFFATTDTDFDTTTFADFDFFDDAATTFADFDTTAAAAFDFTATAFDDTDADAADAADDAFDTAF


                Statement Date:           02/28/2025        Enclosures:               (3)                                  Account No.:             Page: 1
 3053C00X.001




                                                                                                                        XXXXXXXXX627


                                                                        This Statement Cycle Reflects 28 Days


                  ACCOUNTS AT A GLANCE
                Account No.                   Sub Acct.                Account Title                       Acct Type                   Balance
                XXXXXXXXX627                                           INTEGRITY BUSINESS                  Deposit                     546,866.49
                                                          Your Total Deposits = 546,866.49 And Your Total Loans = 0.00

                       INTEGRITY BUSINESS SUMMARY                                                                                  Type: REG Status: Active
                Category                                                                                           Number                             Amount
                Balance Forward From 01/31/25                                                                                                    503,377.31
                Debits                                                                                                   3                        21,519.25
                Automatic Withdrawals                                                                                   26                        65,186.88
                Automatic Deposits                                                                                      31                       130,195.31+
                Ending Balance On 02/28/25                                                                                                       546,866.49
NNNNNN




                                                                      Average Balance (Ledger)                  541,995.83+
MailAndE 100




                STATEMENT PERIOD ACTIVITY
                Date              Check/Description                                                                              Amount                Balance
                02/03/25          PAYPAL TRANSFER                                                                                191.56             503,568.87
                02/03/25          STRIPE TRANSFER                                                                              2,043.61             505,612.48
                02/03/25                       MERCH FEES                                                                         93.59-            505,518.89
                02/03/25          STARLINK INTERNE STARLINK I                                                                    120.00-            505,398.89
                02/03/25          WISE INC WISE                                                                                1,503.75-            503,895.14
                02/03/25          PAYPAL INST XFER                                                                             3,023.50-            500,871.64
                02/04/25          STRIPE TRANSFER                                                                              3,231.76             504,103.40
                02/04/25          WISE US INC WISE                                                                               900.00-            503,203.40
                02/05/25          PAYPAL TRANSFER                                                                                676.61             503,880.01
                02/05/25          STRIPE TRANSFER                                                                             13,963.86             517,843.87
                02/05/25                                  MT ISA 00 00 01 006930416ISO ZZ                                      2,030.20-            515,813.67
                                  ISOWESTPB 250204 103
                02/06/25          PAYPAL TRANSFER                                                                                288.07             516,101.74
                02/06/25          PAYPAL TRANSFER                                                                              2,425.25             518,526.99
                02/06/25                            PAYABLES INV-010220 450                                                    4,500.00             523,026.99
                02/06/25          STRIPE TRANSFER                                                                              4,727.13             527,754.12
                02/06/25          GATEWAY SERVICES WEBPAYMENT                                                                     19.24-            527,734.88
                02/07/25          PAYPAL TRANSFER                                                                                571.70             528,306.58


                                                                                                                     Continued
                                                                                     Page: 2
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                 Case:24-12624-KHT Doc#:339 Filed:03/27/25                      Entered:03/27/25 13:11:23 Page18 of 22


                Statement Date:         02/28/2025    Enclosures:       (3)                               Account No.:           Page: 3
                                                                                                       XXXXXXXXX627

                STATEMENT PERIOD ACTIVITY (continued)
                Date              Check/Description                                                             Amount               Balance
                02/07/25          STRIPE TRANSFER                                                           8,016.39            536,322.97
                02/10/25          STRIPE TRANSFER                                                           7,080.04            543,403.01
                02/10/25          UPWORK ESCROW IN EDI PYMNTS                                                 309.00-           543,094.01
                02/10/25          CHK#185                                                                  10,000.00-           533,094.01
 0000905




                02/11/25          PAYPAL TRANSFER                                                             288.07            533,382.08
                02/11/25          PAYPAL TRANSFER                                                             383.12            533,765.20
                02/11/25          STRIPE TRANSFER                                                           3,577.42            537,342.62
                02/11/25          UPWORK ESCROW IN EDI PYMNTS                                                 919.09-           536,423.53
                02/12/25          PAYPAL TRANSFER                                                             970.10            537,393.63
 0278IBTMC




                02/12/25          STRIPE TRANSFER                                                           9,618.66            547,012.29
                02/13/25          STRIPE TRANSFER                                                           3,585.45            550,597.74
                02/13/25          CHK#186                                                                   5,000.00-           545,597.74
                02/14/25          WIRE TRANSFER FROM                                                        1,500.00            547,097.74
                02/14/25          STRIPE TRANSFER                                                          12,118.63            559,216.37
                02/14/25          WISE US INC WISE                                                            300.75-           558,915.62
 3055C00X.001




                02/14/25          WISE US INC WISE                                                            450.00-           558,465.62
                02/14/25          PAYPAL INST XFER                                                            500.00-           557,965.62
                02/14/25          WISE US INC WISE                                                          2,000.00-           555,965.62
                02/18/25          STRIPE TRANSFER                                                           1,348.45            557,314.07
                02/18/25          PAYPAL INST XFER                                                             29.00-           557,285.07
                02/18/25          WISE US INC WISE                                                            250.00-           557,035.07
                02/19/25          STRIPE TRANSFER                                                           3,865.87            560,900.94
                02/19/25          UPWORK ESCROW IN EDI PYMNTS                                                 925.27-           559,975.67
                02/20/25          STRIPE TRANSFER                                                          12,807.25            572,782.92
                02/21/25          STRIPE TRANSFER                                                           1,179.57            573,962.49
                02/24/25          STRIPE TRANSFER                                                           4,041.93            578,004.42
                02/24/25          SPECIALTY ANSWER BILL.COM Specialty Answering Service - Inv                  55.62-           577,948.80
                                  #13726454
                02/24/25          PAYPAL INST XFER                                                            420.00-           577,528.80
                02/24/25          WADSWORTH GARBER J2442 OOFF TRN 1 CZ10000CMLPCC                          10,000.00-           567,528.80
                                  RMR IK WADSWORTH GARBER WARNER
                02/24/25          WADSWORTH GARBER J2442 OOFF TRN 1 CZ10000CMLPSC                          10,000.00-           557,528.80
 26FDP




                                  RMR IK WADSWORTH GARBER WARNER
                02/24/25          WADSWORTH GARBER J2442 OOFF TRN 1 CZ10000CMQ76C                          10,000.00-           547,528.80
                                  RMR IK WADSWORTH GARBER WARNER
                02/24/25          WADSWORTH GARBER J2442 OOFF TRN 1 CZ10000CMQ78C                          10,000.00-           537,528.80
NNNNNN




                                  RMR IK WADSWORTH GARBER WARNER
                02/25/25          STRIPE TRANSFER                                                           2,360.39            539,889.19
                02/25/25          PAXTON.AI PAXTON.AI                                                         199.00-           539,690.19
                02/26/25          STRIPE TRANSFER                                                          10,672.33            550,362.52
                02/27/25          WIRE TRANSFER FROM                                                        2,240.00            552,602.52
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                02/27/25          PAYPAL TRANSFER                                                           1,754.98            554,357.50
                02/27/25          STRIPE TRANSFER                                                           3,578.96            557,936.46
                02/27/25          PAYPAL INST XFER                                                          1,000.00-           556,936.46
                02/27/25          CHK#187                                                                   6,519.25-           550,417.21
                02/27/25          WADSWORTH GARBER J2446 OOFF TRN 1 CZ10000CQFHMC                          10,000.00-           540,417.21
                                  RMR IK WADSWORTH GARBER WARNER
                02/28/25          STRIPE TRANSFER                                                            6,588.15           547,005.36
                02/28/25          SLACK T03UM1UF3P SLACK T03U                                                  138.87-          546,866.49


                       CHECKS AND OTHER DEBITS                                                         * indicates a gap in the check numbers

                Date       Check #                Amount Date         Check #           Amount Date        Check #                 Amount
                02/10/25 185                    10,000.00 02/13/25 186                5,000.00 02/27/25 187                      6,519.25


                       DAILY BALANCE SUMMARY
                Beginning Ledger Balance on 01/31/25 was 503,377.31
                Date                            Balance    Date                      Balance    Date                            Balance
                02/03/25                    500,871.64     02/05/25               515,813.67    02/07/25                   536,322.97
                02/04/25                    503,203.40     02/06/25               527,734.88    02/10/25                   533,094.01

                                                                                                    Continued
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Statement Date:     02/28/2025   Enclosures:      (3)                                  Account No.:       Page: 4
                                                                                    XXXXXXXXX627

       DAILY BALANCE SUMMARY (continued)
Date                      Balance      Date                       Balance    Date                        Balance
02/11/25               536,423.53      02/19/25                559,975.67    02/25/25                 539,690.19
02/12/25               547,012.29      02/20/25                572,782.92    02/26/25                 550,362.52
02/13/25               545,597.74      02/21/25                573,962.49    02/27/25                 540,417.21
02/14/25               555,965.62      02/24/25                537,528.80    02/28/25                 546,866.49
02/18/25               557,035.07




                                                                                                                    0000905
                                    Direct Inquiries About Electronic Entries To:
                                                Phone: (719) 484-0077




                                                                                                                    0278IBTMC
                                                                                                                    3056C00X.001
                                                                                                                    26FDP




                                                                                        Continued
                 Case:24-12624-KHT
                INTEGRITY   BANK AND TRUSTDoc#:339     Filed:03/27/25   Entered:03/27/25 13:11:23 Page20 of 22              Page: 5
 0000905        Account No.: XXXXXXXXX627                                                                Statement Date: 02/28/2025




                Number: 185 Date: 2/10/2025 Amount: $10000.00<F>        Number: 186 Date: 2/13/2025 Amount: $5000.00<F>
 0278IBTMC
 3057C00X.001




                Number: 187 Date: 2/27/2025 Amount: $6519.25<F>
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                     DNC and TCPA Sanitizer, LLC
                     Profit and Loss
                     Basis: Cash
                     01 Feb 2025 To 28 Feb 2025


                     Account                          Total


                     Operating Income
                     Sales                                $130,195.31
                     Total for Operating Income           $130,195.31


                     Cost of Goods Sold
                     Total for Cost of Goods Sold                     0


                     Gross Profit                         $130,195.31


                     Bankruptcy Expenses


                     Trustee                              $50,000.00
                     Legal                                    $10,000.00
                     Accounting                               $6,519.25


                     Total Bankruptcy Expenses                $66,519.25


                     Adjusted Gross Profit                    $63,676.06


                     Operating Expense


                     Accountant                                 $525.84
                     Advertising And Marketing                 $2,268.95
                     Merchant & Bank Fees                       $199.60
                     IT and Internet Expenses                   $305.25
                     Legal                                      $987.25
                     Litigators Research                       $5,196.64
                     Sales People and Commissions              $2,275.73
                     Telecommunication Expense                  $267.89
                     VOIP                                       $867.58
                     Web Site Development                      $2,292.16
                     Total for Operating Expense              $15,186.88
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                     Operating Profit


                     Non Operating Income                         0
                     Total for Non Operating Income               0


                     Non Operating Expense                        0
                     Total for Non Operating Expense              0


                     Net Profit/Loss                      $48,489.18


                     Cash Flow From Operations            $48,489.18
                     Less: Chase Payment                   $5,000.00


                     Free Cash Flow                       $43,489.18
